     Case 3:20-cv-02860-S Document 10 Filed 12/04/20       Page 1 of 30 PageID 38



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
                       _____________________________________


ADITYA RALLABHANDI,

        Plaintiff,

v.                                             Civil Action No. 3:20-CV-02860-S

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES, and
KENNETH T. (KEN) CUCCINELLI, Senior
Official Performing the Duties of the
Director, U.S. Citizenship and Immigration
Services (or his successor), in his official
capacity,

        Defendants.

                       DEFENDANTS’ MOTION TO DISMISS




                                               ERIN NEALY COX
                                               United States Attorney

                                               Sarah E. Delaney
                                               Assistant United States Attorney
                                               Arizona Bar No. 031722
                                               1100 Commerce Street, Third Floor
                                               Dallas, Texas 75242-1699
                                               Telephone: 214-659-8730
                                               Facsimile: 214-659-8807
                                               sarah.delaney@usdoj.gov

                                               Attorneys for Defendants
       Case 3:20-cv-02860-S Document 10 Filed 12/04/20                                    Page 2 of 30 PageID 39



                                                    Table of Contents

I.        Background............................................................................................................... 2

          A.        The EB-5 Program......................................................................................... 2

                    1.        USCIS’s processing of Form I-526 petitions ..................................... 4

          B.        Factual background ....................................................................................... 5

II.       Legal Standards ........................................................................................................ 5

III.      Argument and Authorities ........................................................................................ 7

          A.        USCIS has neither unlawfully withheld nor unreasonably delayed in
                    the adjudication of Rallabhandi’s petition. ................................................... 8

                    1.        USCIS has not unlawfully withheld adjudication. ............................. 9

                    2.        USCIS has not unreasonably delayed adjudication. ........................ 11

          B.        Rallabhandi is not entitled to mandamus relief. .......................................... 17

                    1.        Rallabhandi has no clear and indisputable right to instant
                              adjudication, as USCIS has not violated its duty to timely
                              adjudicate Rallabhandi’s petition. .................................................... 18

                    2.        Rallabhandi has other adequate remedies available for relief.......... 20

IV.       Conclusion .............................................................................................................. 22




                                                                  i
    Case 3:20-cv-02860-S Document 10 Filed 12/04/20                                   Page 3 of 30 PageID 40



                                                Table of Authorities


CASES

Ahmadi v. Chertoff,
  522 F. Supp. 2d 816 (N.D. Tex. 2007) .................................................................... 12, 21

Al-Juburi v. Chertoff,
  No. 3:06-CV-1270-D, 2007 WL 2285964 (N.D. Tex. Aug. 9, 2007) ..................... 13, 19

Alkenani v. Barrows,
  356 F. Supp. 2d 652 (N.D. Tex. 2005) .......................................................................... 12

Allied Chem. Corp. v. Daiflon, Inc.,
  449 U.S. 33 (1980) ........................................................................................................ 17

Alsharqawi v. Gonzales,
  No. 3:06-CV-1165-N, 2007 WL 1346667 (N.D. Tex. Mar. 14, 2007) ..................... 9, 12

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) .................................................................................................. 7, 13

Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) .................................................................................................. 6, 13

Bender v. Williamsport Area School Dist.,
  475 U.S. 534 (1986) ........................................................................................................ 6

Bian v. Clinton,
  605 F.3d 249 (5th Cir. 2010) ................................................................................... 10, 18

Block v. North Dakota ex rel. Bd. of Univ. & Sch. Lands,
  461 U.S. 273 (1983) ........................................................................................................ 6

Bo Tang v. Chertoff,
  No. C 07-06873 JF, 2007 WL 1650945 (N.D. Cal. June 5, 2007) ................................ 11

Campbell v. City of San Antonio,
  43 F.3d 973 (5th Cir. 1995) ......................................................................................... 6, 7

Casa Colina Hosp. v. Burwell,
  No. 15-3990, 2015 WL 11237100 (C.D. Cal. Oct. 30, 2015) ................................. 19, 20

Cheney v. U.S. Dist. Court for the Dist. of Columbia,
  542 U.S. 367 (2004) ...................................................................................................... 17


                                                               ii
    Case 3:20-cv-02860-S Document 10 Filed 12/04/20                                   Page 4 of 30 PageID 41



Dmitrenko v. Chertoff,
 No. 07-CV-82, 2007 WL 1303009 (E.D. Va. Apr. 30, 2007) ....................................... 16

Elmalky v. Upchurch,
  No. 3:06-CV-2359-B, 2007 WL 944330 (N.D. Tex. Mar. 28, 2007) ..................... 13, 19

Ex Parte Fahey,
  332 U.S. 258 (1947) ...................................................................................................... 17

Felicia W. v. Berryhill,
  No. 3:17-CV-2649-D-BN, 2018 WL 3321254 (N.D. Tex. June 13, 2018) .................... 8

Forest Guardians v. Babbitt,
  174 F.3d 1178 (10th Cir. 1999) ................................................................................. 9, 11

Freeman v. United States,
  556 F.3d 326 (5th Cir. 2009) ........................................................................................... 6

Giddings v. Chandler,
  979 F.2d 1104 (5th Cir. 1992) ....................................................................................... 17

Home Builders Ass’n of Miss., Inc. v. City of Madison, Miss.,
  143 F.3d 1006 (5th Cir. 1998) ......................................................................................... 5

Hoo Loo v. Ridge,
  No. Civ. 04-5553, 2007 WL 813000 (E.D.N.Y. Mar. 14, 2007) ............................ 12, 14

Immigration & Naturalization Serv. v. Miranda,
  459 U.S. 14 (1982) ........................................................................................................ 12

In re Aiken Cnty.,
   645 F.3d 428 (D.C. Cir. 2011)....................................................................................... 17

In re Barr Labs., Inc.,
   930 F.2d 72 (D.C. Cir. 1991)......................................................................................... 19

In re FEMA Trailer Formaldehyde Prods. Liab. Litig.,
   668 F.3d 281 (5th Cir. 2012) ........................................................................................... 6

Kerr v. U.S. Dist. Ct. for the N. Dist. of Cal.,
  426 U.S. 394 (1976) ...................................................................................................... 22

King v. Nat’l Transp. Safety Bd.,
  766 F.2d 200 (5th Cir. 1985) ........................................................................................... 9




                                                              iii
    Case 3:20-cv-02860-S Document 10 Filed 12/04/20                                   Page 5 of 30 PageID 42



Kobaivanova v. Hansen,
  No. 1:11CV943, 2011 WL 4401687 (N.D. Ohio, Sept. 16, 2011) ................................ 16

Kokkonen v. Guardian Life Ins. Co. of Am.,
  511 U.S. 375 (1994) ........................................................................................................ 6

L.M. v. Johnson,
  150 F. Supp. 3d 202 (E.D.N.Y. 2015) ..................................................................... 14, 15

Lane v. Pena,
  518 U.S. 187 (1996) ........................................................................................................ 6

Li v. Agagan,
   No. 04-40705, 2006 WL 637903 (5th Cir. Mar. 14, 2006) ........................................... 21

Liberty Fund, Inc. v. Chao,
  394 F. Supp. 2d 105 (D.D.C. 2005)............................................................................... 12

M.J.L. v. McAleenan,
  420 F. Supp. 3d 588 (W.D. Tex. 2019) ................................................................... 12, 21

Mallard v. U.S. Dist. Ct. for S. Dist. of Iowa,
 490 U.S. 296 (1989) ...................................................................................................... 17

Mohammed v. Frazier,
 No. 07-3037 (RHK/JSM), 2008 WL 360778 (D. Minn. Feb. 8, 2008) ......................... 13

Monahan v. Dorchester Counseling Ctr., Inc.,
 961 F.2d 987 (1st Cir. 1992) ........................................................................................... 9

Mt. Emmons Min. Co. v. Babbitt,
  117 F.3d 1167 (10th Cir. 1997) ..................................................................................... 21

Muse v. Nat’l Flood Ins. Pgm., No. 17-10586,
 2019 WL 968371 (E.D. La. Feb. 28, 2019) ................................................................... 21

Norton v. S. Utah Wilderness Alliance,
  542 U.S. 55 (2004) .............................................................................................. 8, 11, 17

Patel v. Rodriguez,
  No. 15-CV-486, 2015 WL 6083199 (N.D. Ill. Oct 13, 2015) ....................................... 15

Pesantez v. Johnson,
  No. 15 Civ. 1155 (BMC), 2015 WL 5475655 (E.D.N.Y. Sept. 17, 2015)........ 14, 15, 16




                                                              iv
    Case 3:20-cv-02860-S Document 10 Filed 12/04/20                                       Page 6 of 30 PageID 43



Ramming v. United States,
  281 F.3d 158 (5th Cir. 2001) ........................................................................................... 5

Randall D. Wolcott, M.D., P.A. v. Sebelius,
  635 F.3d 757 (5th Cir. 2011) ................................................................................... 17, 18

Ryan v. Dedvukaj,
  No. 09-14178, 2009 WL 3809813 (E.D. Mich. Nov. 13, 2009) ................................... 10

Saleh v. Ridge,
  367 F. Supp. 2d 508 (S.D.N.Y. 2005) ........................................................................... 16

Shihuan Cheng v. Baran,
  CV 17-2001-RSWL-KSx, 2017 WL 3326451 (C.D. Cal. Aug. 3, 2017) ..................... 10

Steel Co. v. Citizens for a Better Env’t,
   523 U.S. 83 (1998) .......................................................................................................... 6

United States v. Denson,
  603 F.2d 1143 (5th Cir. 1979) ....................................................................................... 21

Xu v. Cissna,
  434 F. Supp. 3d 43 (S.D.N.Y. 2020) ............................................................................. 14

Yang v. Cal. Dep’t of Social Servs.,
  183 F.3d 953 (9th Cir. 1999) ........................................................................................... 9



STATUTES

5 U.S.C. § 551(13) ............................................................................................................... 8

5 U.S.C. § 555(b) ................................................................................................................. 8

5 U.S.C. § 702 ..................................................................................................................... 8

5 U.S.C. § 706(1) ........................................................................................................... 8, 11

8 U.S.C. § 1153(b)(5)(A)..................................................................................................... 2

8 U.S.C. § 1186b ............................................................................................................. 3, 4

8 U.S.C. § 1202(a) ............................................................................................................... 3

8 U.S.C. § 1255(a) ............................................................................................................... 3


                                                                  v
    Case 3:20-cv-02860-S Document 10 Filed 12/04/20                                         Page 7 of 30 PageID 44



8 U.S.C. § 1571 ................................................................................................... 1, 9, 10, 18

8 U.S.C. § 1572 ................................................................................................................. 10

8 U.S.C. § 1573 ................................................................................................................. 10

28 U.S.C. § 1361 ................................................................................................................. 1


RULES

Fed. R. Civ. P. 12(b)(1) ................................................................................................... 2, 5

Fed. R. Civ. P. 12(b)(6) ................................................................................................... 2, 6

Fed. R. Civ. P. 12(h)(3) ....................................................................................................... 6



REGULATIONS

8 C.F.R. § 103.2(b)(1) ......................................................................................................... 3

8 C.F.R. § 204.6 ......................................................................................................... 2, 3, 15



OTHER AUTHORITIES

USCIS, "Case Processing Times," https://egov.uscis.gov/processing-times/more-info ... 11

USCIS, "Check Case Processing Times," https://egov.uscis.gov/processing-times/ .. 11, 18

USCIS, "Historical National Average Processing Time (in Months) for All USCIS
  Offices for Select Forms by Fiscal Year," https://egov.uscis.gov/processing-
  times/historic-pt ............................................................................................................. 11

USCIS, “Questions and Answers: EB-5 Immigrant Investor Program Visa Availability
  Approach,” https://www.uscis.gov/working-united-states/permanent-
  workers/employment-based-immigration-fifth-preference-eb-5/questions-and-answers-
 eb-5-immigrant-investor-program-visa-availability-approach (last updated Sept. 17,
 2020) ............................................................................................................................ 4, 5

USCIS, “USCIS Adjusts Process for Managing EB-5 Visa Petition Inventory,” Jan. 29,
  2020 https://www.uscis.gov/news/news-releases/uscis-adjusts-process-managing-eb-5-
  visa-petition-inventory..................................................................................................... 4


                                                                  vi
   Case 3:20-cv-02860-S Document 10 Filed 12/04/20               Page 8 of 30 PageID 45



        Plaintiff Aditya Rallabhandi brought this mandamus action (Doc. 1), alleging

Defendants U.S. Citizenship and Immigration Services (“USCIS”) and Kenneth T.

Cuccinelli, Senior Official performing the duties of Director, USCIS (collectively,

“Defendants”), failed to adjudicate Rallabhandi’s Form I-526 petition for the EB-5

program within the 180-day time period described in 8 U.S.C. § 1571(b). Rallabhandi

therefore seeks an order from this Court declaring this alleged delay unreasonable and

unlawful, and compelling Defendants to adjudicate Rallabhandi’s petition within 30 days.

(Doc. 1 at 10.)

        Rallabhandi, however, is not entitled to the relief sought. As to Rallabhandi’s first

claim under the Administrative Procedure Act (“APA”), Rallabhandi has not

demonstrated that this Court has subject matter jurisdiction over the claim, as Defendants

have neither unreasonably delayed nor unlawfully withheld the processing of

Rallabhandi’s Form I-526 petition for the EB-5 program. Rallabhandi alleges that

Congress requires USCIS to adjudicate these petitions within 180 days, but the statute

cited for this proposition is simply an aspirational goal, not a strict deadline. Further, the

amount of time that Rallabhandi’s petition has been pending is well within the standard

adjudication timeline for all Form I-526 petitions for the EB-5 program. Even if judicial

review were available under the APA, these same facts demonstrate that Rallabhandi has

failed to state a claim under the APA. Rallabhandi’s APA claim should therefore be

dismissed for lack of subject matter jurisdiction, or in the alternative, a failure to state a

claim upon which relief may be granted.

        As to Rallabhandi’s second claim under 28 U.S.C. § 1361, mandamus relief is a


Defendants’ Motion to Dismiss – Page 1
     Case 3:20-cv-02860-S Document 10 Filed 12/04/20            Page 9 of 30 PageID 46



drastic remedy to be used only in extraordinary circumstances and can only be invoked if

the plaintiff’s right to issuance of the writ is clear and indisputable, the defendant has a

clear duty to act, and there is no other adequate remedy available. As discussed herein,

Rallabhandi fails to state any claim for relief, because the extraordinary relief of

mandamus is not intended as a vehicle for one immigration applicant to move himself to

the front of the line at the expense of others who are similarly waiting. Mandamus is also

inappropriate because other adequate remedies are available to compel unreasonably

withheld agency action—including specifically bringing suit under the APA—and the

mere fact that this particular plaintiff does not have a viable APA claim available to him

at this exact time does not give rise to a mandamus claim.

        Consequently, because neither mandamus nor APA relief is available, this Court

should dismiss the complaint for lack of jurisdiction and failure to state a claim pursuant

to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure.

                                         I.   Background

A.      The EB-5 Program

        The Immigration and Nationality Act established the EB-5 program in 1990, to

provide visas to aliens who have invested, or are actively in the process of investing, a

certain amount of capital in a new commercial enterprise which will benefit the United

States economy and create full-time employment for at least ten U.S. citizens or

immigrants lawfully authorized to be employed in the United States. See 8 U.S.C.

§ 1153(b)(5)(A). An individual seeking classification as an EB-5 immigrant investor

may submit a Form I-526 petition to USCIS. 8 C.F.R. § 204.6(a), (c), (j).


Defendants’ Motion to Dismiss – Page 2
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20               Page 10 of 30 PageID 47



        Federal regulations require that the petitioner for an immigration benefit “establish

that he or she is eligible for the requested benefit at the time of filing the benefit request

and must continue to be eligible through adjudication.” 8 C.F.R. § 103.2(b)(1).

Therefore, in addition to the Form I-526 petition, the alien must provide sufficient

evidence as part of his submission to USCIS to demonstrate that he “has invested or is

actively in the process of investing lawfully obtained capital in a new commercial

enterprise in the United States” that will create full-time positions for at least 10

qualifying employees. 8 C.F.R. § 204.6(j). This evidence includes documentation for

each component of the requirements: the new commercial enterprise, the investment, the

legality of the capital invested or in the process of being invested, job creation, the

engagement of the petitioner in the new commercial enterprise (i.e., day-to-day

managerial control or policy formulation), and where applicable, whether the area in

which the employment has been or will be created is a “targeted employment area,”

meaning a lower amount of capital can be invested by the alien to be approved. 8 C.F.R.

§ 204.6(f), (j).

        If USCIS approves the Form I-526 petition, the alien may, depending on the

alien’s circumstances, either apply for an EB-5 visa from abroad or file a Form I-485

application for USCIS to adjust his immigration status if already located in the United

States. See 8 U.S.C. §§ 1202(a), 1255(a). Upon admission to the United States, the EB-5

immigrant investor and his eligible spouse and children are conditional permanent

residents. See 8 U.S.C. § 1186b(a)(1). During the 90-day period before the second

anniversary of admission as a conditional permanent resident, a Form I-829 petition must


Defendants’ Motion to Dismiss – Page 3
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20              Page 11 of 30 PageID 48



be filed to seek removal of the conditional basis of the permanent resident status. See 8

U.S.C. § 1186b(c)(1)(A), (d)(2)(A).

        1.      USCIS’s processing of Form I-526 petitions

        On January 29, 2020, USCIS announced that it was modifying the inventory

management process for Form I-526 petitions to give “priority to petitions where visas

are immediately available, or soon available.” See USCIS, “USCIS Adjusts Process for

Managing EB-5 Visa Petition Inventory,” Jan. 29, 2020, https://www.uscis.gov/news/

news-releases/uscis-adjusts-process-managing-eb-5-visa-petition-inventory. Pending

Form I-526 petitions would no longer be processed using a first-in, first-out based

approach, but rather also taking into consideration the availability of visas. Id.; see also

USCIS, “Questions and Answers: EB-5 Immigrant Investor Program Visa Availability

Approach,” https://www.uscis.gov/working-united-states/permanent-workers/

employment-based-immigration-fifth-preference-eb-5/questions-and-answers-eb-5-

immigrant-investor-program-visa-availability-approach (last updated Sept. 17, 2020)

(explaining USCIS manages Form I-526 petition inventory with workflows that factor in

the availability of a visa and the review status of the project receiving the investment, and

noting that workflows are generally managed in a first-in, first-out order when a visa is

available or will be available soon).

        This change, which went into effect on March 31, 2020, is designed to increase

fairness in the administration of the program, and to ensure that EB-5 program operations

are consistent with congressional intent. Id. This modification does not change any

requirements for the Form I-526 and supporting documentation, but will, in general,


Defendants’ Motion to Dismiss – Page 4
     Case 3:20-cv-02860-S Document 10 Filed 12/04/20          Page 12 of 30 PageID 49



shorten the length of time that a Form I-526 petition remains pending if a visa is available

or will be available soon. See id. (explaining that under the prior process, “petitioners

without visa numbers available would tend to be processed ahead of those with visa

numbers available, given that the oldest Form I-526 petitions are primarily from countries

that are now oversubscribed” meaning that country’s visa demand exceeds the supply of

visa numbers available for allocation in the relevant classification from the U.S.

Department of State).

B.      Factual background

        In the complaint, Rallabhandi states that he has filed an “EB-5 petition packet”

(i.e., a completed Form I-526 and supporting documents). (See generally Doc. 1.)

Rallabhandi alleges that USCIS acknowledged receiving his petition on December 12,

2018. (Doc. 1, ¶ 31.) Rallabhandi alleges that more than 180 days has passed since the

petition was filed, but it has not yet been adjudicated. (Doc. 1, ¶ 33.)

                                    II.   Legal Standards

        Under Rule 12(b)(1), a case is properly dismissed when the court “lacks the

statutory or constitutional power to adjudicate the case.” Home Builders Ass’n of Miss.,

Inc. v. City of Madison, Miss., 143 F.3d 1006, 1010 (5th Cir. 1998) (citation omitted).

“The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting

jurisdiction.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001) (citation

omitted). “Accordingly, the plaintiff constantly bears the burden of proof that

jurisdiction does in fact exist.” Id. (citation omitted). Because the United States and its

agencies enjoy sovereign immunity from suit unless Congress has specifically consented


Defendants’ Motion to Dismiss – Page 5
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20              Page 13 of 30 PageID 50



to the suit, Block v. North Dakota ex rel. Bd. of Univ. & Sch. Lands, 461 U.S. 273, 287

(1983), the plaintiff bears the burden of showing a waiver of immunity, Freeman v.

United States, 556 F.3d 326, 334 (5th Cir. 2009). The government’s consent to suit “is a

prerequisite to federal jurisdiction,” In re FEMA Trailer Formaldehyde Prods. Liab.

Litig., 668 F.3d 281, 287 (5th Cir. 2012), and Congress’s waiver of immunity “must be

unequivocally expressed in statutory text . . . and will not be implied,” Lane v. Pena, 518

U.S. 187, 192 (1996) (citations omitted).

        Furthermore, subject matter jurisdiction also must be established before the case

can proceed on the merits. See Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94–

95 (1998). This is because “[f]ederal courts are courts of limited jurisdiction.”

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). They possess only

that power authorized by the Constitution and conferred by Congress. See Bender v.

Williamsport Area School Dist., 475 U.S. 534, 541 (1986). “If the court determines at

any time that it lacks subject-matter jurisdiction, the court must dismiss the action.” Fed.

R. Civ. P. 12(h)(3).

        In deciding a Rule 12(b)(6) motion to dismiss, the Court evaluates the sufficiency

of the plaintiff’s complaint by accepting “all well-pleaded facts as true and viewing those

facts in the light most favorable to [the plaintiff].” Campbell v. City of San Antonio, 43

F.3d 973, 975 (5th Cir. 1995). To survive a Rule 12(b)(6) motion, the plaintiff must

plead “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the


Defendants’ Motion to Dismiss – Page 6
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20              Page 14 of 30 PageID 51



defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009).

        However, it is insufficient for the complaint’s factual allegations to “merely

create[] a suspicion that the pleader might have a right of action.” Campbell, 43 F.3d at

975. Instead, to survive a motion to dismiss, a complaint requires more than a “sheer

possibility that a defendant has acted unlawfully,” or “naked assertions devoid of further

factual enhancement.” Iqbal, 556 U.S. at 678 (citations omitted). In other words, where

the facts pleaded do no more than permit an inference of the possibility of misconduct,

the complaint has not shown that the pleader is entitled to relief. Id. at 679.

“Determining whether a complaint states a plausible claim for relief . . . [is] a context-

specific task that requires the reviewing court to draw on its judicial experience and

common sense.” Id.

                             III.        Argument and Authorities

        Rallabhandi claims that he is entitled to a declaration that “Defendants’ delay [is]

unreasonable and/or unlawful,” and to an order “compelling USCIS to adjudicate

Plaintiff’s petitions within 30 days.” (Doc. 1 at 10.) However, Rallabhandi is not

entitled to any such relief. USCIS has neither unlawfully withheld nor unreasonably

delayed the adjudication of Rallabhandi’s petition. There is no required timeline for

adjudication of these petitions, and Rallabhandi’s petition remains well within the

standard processing time for all Form I-526 petitions. As a result, USCIS has not failed

to perform its “duty to act within a reasonable amount of time.” (Doc. 1, ¶ 39.)

Therefore, this Court does not have subject matter jurisdiction over Rallabhandi’s APA


Defendants’ Motion to Dismiss – Page 7
     Case 3:20-cv-02860-S Document 10 Filed 12/04/20          Page 15 of 30 PageID 52



claim, and Rallabhandi has also failed to state a claim for relief under the APA.

        Rallabhandi has also not demonstrated that he has met the elements for the

extraordinary remedy of mandamus relief. As there is no statutory timeline in which

adjudication of Rallabhandi’s petition must occur, Rallabhandi does not have an

indisputable relief to immediate adjudication of his petition nor do Defendants have a

clear duty to act at this time. Additionally, Rallabhandi has adequate alternative remedies

available, making mandamus relief inappropriate. Therefore, Rallabhandi is also not

entitled to his requested mandamus relief.

A.      USCIS has neither unlawfully withheld nor unreasonably delayed in the
        adjudication of Rallabhandi’s petition.

        The APA authorizes suit by any “person suffering legal wrong because of agency

action, or adversely affected or aggrieved by agency action within the meaning of a

relevant statute.” 5 U.S.C. § 702. “Agency action” is defined as, among other things,

“failure to act.” 5 U.S.C. § 551(13). The APA requires agencies to conclude matters

“within a reasonable time,” 5 U.S.C. § 555(b), and authorizes federal courts to “compel

agency action unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1).

        In order to proceed on a claim under 5 U.S.C. § 706(1), the plaintiff must assert

“that an agency failed to take a discrete agency action that it is required to take.” Norton

v. S. Utah Wilderness Alliance, 542 U.S. 55, 64 (2004). Federal courts “are to invoke

jurisdiction to compel agency action only when the circumstances clearly require judicial

intervention.” Felicia W. v. Berryhill, No. 3:17-CV-2649-D-BN, 2018 WL 3321254, at

*5 (N.D. Tex. June 13, 2018) (report and recommendation), adopted by 2018 WL



Defendants’ Motion to Dismiss – Page 8
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20             Page 16 of 30 PageID 53



3302758 (N.D. Tex. July 5, 2018); see also Alsharqawi v. Gonzales, No. 3:06-CV-1165-

N, 2007 WL 1346667, at *2-3 (N.D. Tex. Mar. 14, 2007) (“Much like mandamus relief,

[compelling agency action] under the APA is considered an extraordinary measure.”).

Thus, there must be a “showing of prejudice before agency action can be set aside for its

lack of punctuality.” King v. Nat’l Transp. Safety Bd., 766 F.2d 200, 202 (5th Cir. 1985).

        1.      USCIS has not unlawfully withheld adjudication.

        An agency has unlawfully withheld a required action when it fails to comply with

a statutorily imposed deadline. See, e.g., Forest Guardians v. Babbitt, 174 F.3d 1178,

1190 (10th Cir. 1999). There is, however, no mandatory deadline under federal law by

which USCIS must adjudicate a Form I-526 petition.

        Rallabhandi cites Congress’ aspirational statutory language in 8 U.S.C. § 1571 to

incorrectly allege that the agency has only 180 days to process a Form I-526 petition.

(Doc. 1, ¶¶ 16, 18, 41.) This misreading ignores the actual language of the statute, which

explains that the 180 days is merely a goal, not a mandate:

        It is the sense of Congress that the processing of an immigration benefit
        application should be completed not later than 180 days after the initial
        filing of the application . . .

8 U.S.C. § 1571(b) (emphasis added); see also Yang v. Cal. Dep’t of Social Servs., 183

F.3d 953, 959-62 (9th Cir. 1999) (explaining that multiple courts have held that “sense of

Congress” provisions in various federal statutes do not create any rights or duties by

themselves, but instead are “no more than non-binding, legislative dicta”); Monahan v.

Dorchester Counseling Ctr., Inc., 961 F.2d 987, 994-95 (1st Cir. 1992) (explaining that

the terms “should” and “the sense of Congress” in another federal statute indicated “that


Defendants’ Motion to Dismiss – Page 9
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20              Page 17 of 30 PageID 54



the statute is merely precatory”).

        In fact, the Fifth Circuit has explicitly stated that 8 U.S.C. § 1571(b) “merely

expresses Congress’s sense of the adjudicative process,” and does not indicate that

USCIS has a “plainly prescribed” duty to process an application within the 180-day time

frame. Bian v. Clinton, 605 F.3d 249, 255 (5th Cir. 2010), vacated as moot, No. 09-

10568, 2010 WL 3633770 (5th Cir. Sept. 16, 2010); see also Shihuan Cheng v. Baran,

CV 17-2001-RSWL-KSx, 2017 WL 3326451, at *4 (C.D. Cal. Aug. 3, 2017) (“It does

not appear that I-526 petitions have a statutory time frame for adjudication.”); Ryan v.

Dedvukaj, No. 09-14178, 2009 WL 3809813, at *2 (E.D. Mich. Nov. 13, 2009) (listing

other cases that held there is no strict deadline to process immigration benefits

applications, and explaining that “[s]ection 1571(b) is merely a policy statement, worded

in precatory terms; it does not create an obligation for Defendants to meet the 180-day

deadline, nor does it give Plaintiffs a right of enforcement”).

        Similarly, despite Rallabhandi’s allegations to the contrary (Doc. 1, ¶ 17), a plain

reading of the related statutory language in 8 U.S.C. §§ 1572-1573 indicates that the

elimination of any backlog in the processing of immigration benefit applications by 2003,

so that all such applications were adjudicated within 180 days, was an “objective,” rather

than an explicit requirement. See 8 U.S.C. §§ 1572(1), 1573(a).

        As there is no explicit statutory deadline by which USCIS is required to adjudicate

a Form I-526 petition, USCIS cannot have “unlawfully withheld” action on Rallabhandi’s

petition, and to the extent Rallabhandi is asserting such an allegation, this claim must be

dismissed.


Defendants’ Motion to Dismiss – Page 10
    Case 3:20-cv-02860-S Document 10 Filed 12/04/20                     Page 18 of 30 PageID 55



        2.      USCIS has not unreasonably delayed adjudication.

        If an agency has no concrete deadline establishing a date by which it must act, a

court can still compel agency action if it determines the action was unreasonably delayed.

See, e.g., Forest Guardians, 174 F.3d at 1190. However, to establish a right to judicial

review for an alleged unreasonable delay under 5 U.S.C. § 706(1), a plaintiff must first

establish that the defendant agency’s delay in performing its duty is unreasonable. See

Norton, 542 U.S. at 63 n.1; see also Bo Tang v. Chertoff, No. C 07-06873 JF, 2007 WL

1650945, at *1 (N.D. Cal. June 5, 2007) (“To invoke subject matter jurisdiction under the

APA, a petitioner must show (1) that Defendants had a nondiscretionary duty to act and

(2) that Defendants unreasonably delayed in acting on that duty.”).

        In this case, Rallabhandi’s petition has been pending for just under two years.

(Doc. 1, ¶ 31.) This timeline is shorter than USCIS’s estimated processing times for

Form I-526 petitions of 27.5 to 40.5 months (for petitions filed by aliens who were not

born in mainland China). See USCIS, “Check Case Processing Times,”

https://egov.uscis.gov/processing-times/ (last accessed Dec. 3, 2020). 1


1
  Rallabhandi incorrectly states that the “standard processing time” for Form I-526 petitions is 13.7
months, apparently based on historical national average processing times. (See, e.g., Doc. 1, ¶ 20 (citing,
among other USCIS websites, “Historical National Average Processing Time (in Months) for All USCIS
Offices for Select Forms by Fiscal Year,” https://egov.uscis.gov/processing-times/historic-pt, which
indicates that the general range of the historical average processing time for Form I-526 petitions was
22.2 months in FY 2018, 19.8 months in FY 2019, and 14.1 months for October 1, 2019 through August
31, 2020).) However, the historical national average processing times use a different calculation
methodology than the “Check Case Processing Times” webpage, which is more relevant for purposes of
this litigation as it reflects an analysis of recently completed cases. As described in more detail on the
“Check Case Processing Times” webpage, the Form I-526 case processing times are reported as a range
(currently 27.5 to 40.5 months). The first number is the time it takes to complete 50% of cases (the
median). The second number is the time it takes to complete 93% of cases. The range is based on an
analysis of recently completed cases. USCIS, “Case Processing Times,” https://egov.uscis.gov/
processing-times/more-info (last accessed Dec. 3, 2020).


Defendants’ Motion to Dismiss – Page 11
    Case 3:20-cv-02860-S Document 10 Filed 12/04/20                     Page 19 of 30 PageID 56



                a.      The fact that Rallabhandi’s petition has been pending for more
                        than 180 days does not mean adjudication has been
                        “unreasonably delayed.”

        Rallabhandi alleges that the delay in this case is inherently unreasonable as the

petition was not adjudicated within 180 days of its filing. (Doc. 1, ¶¶ 18, 33.) However,

as explained above, the statute cited for this proposition is simply an aspirational goal,

not a strict deadline. In considering whether a delay is unreasonable, courts have

consistently held that processing times, even lengthy ones, by themselves, cannot support

a finding of unreasonable delay. See Hoo Loo v. Ridge, No. Civ. 04-5553, 2007 WL

813000, at *4 (E.D.N.Y. Mar. 14, 2007) (citing Immigration & Naturalization Serv. v.

Miranda, 459 U.S. 14, 19 (1982)) (“[T]he Supreme Court has held that evidence of the

passage of time cannot, standing alone, support a claim of unreasonable delay.”); Liberty

Fund, Inc. v. Chao, 394 F. Supp. 2d 105, 115 (D.D.C. 2005) (“[M]easuring the delay by

years alone cannot establish unreasonable delay.”); Alkenani v. Barrows, 356 F. Supp. 2d

652, 657 (N.D. Tex. 2005) (denying mandamus relief for immigration application as the

15-month delay was not unreasonable given the circumstances of the case). 2



2
  Defendants note that there are other cases from this District or other districts across Texas that
determined the applicable immigration agency’s delay in adjudicating an application were unreasonable.
These cases, however, involved significantly longer periods of time than that at issue in this case, and
many also involved other statutory or regulatory issues that indicated the delay was unreasonable. See,
e.g., M.J.L. v. McAleenan, 420 F. Supp. 3d 588, 592, 594-98 (W.D. Tex. 2019) (report and
recommendation), adopted Jan. 24, 2020 (Doc. 32) (determining the court had jurisdiction to review a
plaintiff’s APA claim for unreasonable delay in light of a nearly three year delay and the agency’s failure
to act in accordance with a specific regulation regarding U-visa waiting lists); Ahmadi v. Chertoff, 522 F.
Supp. 2d 816, 820-21 (N.D. Tex. 2007) (determining that USCIS’s decision to wait nearly four years
while the FBI completed a background check before USCIS would continue its adjudication process
could be an unreasonable delay); Alsharqawi, 2007 WL 1346667, at *4 (determining a nearly four year
delay weighed in favor of finding jurisdiction over the plaintiff’s complaint under the APA).



Defendants’ Motion to Dismiss – Page 12
    Case 3:20-cv-02860-S Document 10 Filed 12/04/20                   Page 20 of 30 PageID 57



        Rather, courts have generally considered a variety of factors, including (1) the

source of the delay, (2) the complexity of the investigation, (3) whether any party

participated in delaying the proceeding, (4) the nature and extent of the interests

prejudiced by the delay, and (5) whether expediting action on agency activities will have

an adverse effect on higher or competing priorities. See, e.g., Mohammed v. Frazier, No.

07-3037 (RHK/JSM), 2008 WL 360778, at *11 (D. Minn. Feb. 8, 2008); Al-Juburi v.

Chertoff, No. 3:06-CV-1270-D, 2007 WL 2285964, at *5-6 (N.D. Tex. Aug. 9, 2007); see

also Elmalky v. Upchurch, No. 3:06-CV-2359-B, 2007 WL 944330, at *6 (N.D. Tex.

Mar. 28, 2007) (“[W]hat constitutes an unreasonable delay in the context of immigration

applications depends to a great extent on the facts of the particular case.”) (internal

quotation marks omitted).

        Here, Rallabhandi does not allege any circumstances, aside from the passage of

time, as a basis for the alleged unreasonable delay. Although Rallabhandi has made

general assertions that USCIS has recently been adjudicating fewer Form I-526 petitions

while there has also been a decrease in the number of Form I-526 petitions filed (Doc. 1,

¶¶ 21-24), Rallabhandi never alleges any actual impact on his own petition or

demonstrates how these allegations constitute any kind of “unreasonable delay.” 3 See,




3
  Rallabhandi also alleges that he is unable to provide information to demonstrate an unreasonable delay
in adjudication because discovery has not yet occurred. (Doc. 1, ¶ 40.) However, Rallabhandi cannot
exempt himself from the Iqbal and Twombly pleading requirements merely because of the statute under
which he chooses to bring his claims. In arguing that discovery is necessary, Rallabhandi cites Mashpee
Wampanoag Tribal Council, Inc. v. Norton (“Mashpee”), 336 F.3d 1094, 1100 (D.C. Cir. 2003) for the
proposition that resolution of a claim of unreasonable delay generally requires consideration of case-
specific facts and circumstances. (See Doc. 1, ¶ 40 n.13.) But Mashpee lends no support to the argument


Defendants’ Motion to Dismiss – Page 13
   Case 3:20-cv-02860-S Document 10 Filed 12/04/20                         Page 21 of 30 PageID 58



e.g., L.M. v. Johnson, 150 F. Supp. 3d 202, 214 (E.D.N.Y. 2015) (“While two years of

delay is not insubstantial, the court cannot find, as a matter of law, that Plaintiffs have

alleged facts that would entitle them to the relief requested under the APA.”); accord

Pesantez v. Johnson, No. 15 Civ. 1155 (BMC), 2015 WL 5475655, at *4 (E.D.N.Y. Sept.

17, 2015) (citing a case in which a five year delay was found not unreasonable); Hoo

Loo, 2007 WL 813000 at *4 (four year delay not unreasonable where neither party put

forward reasons for the delay).

        Additionally, Rallabhandi attempts to use his reasons for filing a Form I-526

petition (so he can apply for a green card and legally stay within the United States) as a

basis for arguing that the delay is unreasonable. (Doc. 1, ¶ 36.) But Rallabhandi never

explains how his desire to become an EB-5 immigrant investor, which is also the desire

of any Form I-526 petitioner, somehow demonstrates USCIS has unreasonably delayed in

the adjudication of his petition. Further, these alleged “harms” are inherent risks of the

adjudication process. See Xu v. Cissna, 434 F. Supp. 3d 43, 54 (S.D.N.Y. 2020) (finding

plaintiff’s assertions that she was suffering harm due to the lengthy adjudication of her

immigration application the “sort of prejudice . . . inherent in the [adjudication] process;

worthy applicants are not entitled to benefits until their applications have been assessed

and approved”). Thus, there is no basis to compel adjudication based on Rallabhandi’s

unsubstantiated claim of unreasonable delay.




that Rallabhandi should be entitled to discovery despite his failure to state a claim for relief, as his factual
allegations, even if true, do not support a cognizable claim.



Defendants’ Motion to Dismiss – Page 14
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20              Page 22 of 30 PageID 59



                b.      USCIS continues to adjudicate Form I-526 petitions, so there is
                        no basis for judicial intervention at this time.

        Although Rallabhandi is frustrated with the pace of USCIS’s adjudication of his

petition, the agency is continuing to adjudicate pending Form I-526 petitions. USCIS’s

responsibilities relating to the processing and adjudication of immigration applications

are enormous and wide-sweeping. Given the overall number of petitions, when

combined with the complexity of the Form I-526 adjudication process, the length of time

for which Rallabhandi’s petition has been pending is reasonable. See 8 C.F.R. § 204.6;

see also Patel v. Rodriguez, No. 15-CV-486, 2015 WL 6083199, at *6 (N.D. Ill. Oct 13,

2015) (dismissing plaintiffs’ unreasonable-delay claim in part because “Plaintiffs have

remained on the waiting list because there is a long line of applicants ahead of them”);

L.M., 150 F. Supp. 3d at 214 (considering an agency’s limited resources and number of

pending applications and dismissing an unreasonable delay claim involving an asylum

application, finding “[w]hile two years of delay is not insubstantial, the court cannot find,

as a matter of law, that plaintiffs have alleged facts that would entitle them to the relief

requested under the APA”).

        Judicial intervention in this case “would necessarily involve an intrusion into the

defendants’ allocation of adjudicatory resources on the whole, and that is something [the]

Court is institutionally ill-equipped to do.” Pesantez, 2015 WL 5475655, at *6. If the

Court moved Rallabhandi to the front of the line, it would cause other petitioners to wait




Defendants’ Motion to Dismiss – Page 15
    Case 3:20-cv-02860-S Document 10 Filed 12/04/20                     Page 23 of 30 PageID 60



longer for adjudication. 4 See Saleh v. Ridge, 367 F. Supp. 2d 508, 513 (S.D.N.Y. 2005)

(“Nor has Plaintiff provided any compelling rationale for why he should not be made to

wait his turn for adjudication.”). In other immigration mandamus cases, courts have

refused to move the plaintiff “to the front of the line,” as doing so would only contribute

to the backlog of pending applications filed ahead of them. See Pesantez, 2015 WL

5475655, at *4 (noting that to judicially expedite plaintiff’s case would provide “relief

that would further incentivize defendants to prioritize those asylum applicants who have

the wherewithal to retain private counsel”); Kobaivanova v. Hansen, No. 1:11CV943,

2011 WL 4401687, at *6 n.5 (N.D. Ohio Sept. 16, 2011) (refusing “to compel USCIS to

adjudicate Plaintiff’s application immediately, with the result that Plaintiff’s application

would be resolved ahead of other applications that may have been pending for longer”).

        Additionally, ordering USCIS to adjudicate Rallabhandi’s petition would simply

encourage more litigation, slowing the system for those whose petitions have been

pending longer. See Dmitrenko v. Chertoff, No. 07-CV-82, 2007 WL 1303009, at *l

(E.D. Va. Apr. 30, 2007) (declining to compel adjudication of an immigration application

because it “would set a dangerous precedent, sending a clear signal that more litigious

applicants are more likely to be moved to the top of the proverbial pile over other

applicants that have waited even longer”).


4
  Rallabhandi alleges that USCIS’s method of processing Form I-526 petitions based on visa availability
already “jump[s]” certain petitioners ahead of others without a visa available or soon to be available (Doc.
1, ¶ 26), and ask that the court move Rallabhandi to the front of the line (Doc. 1 at 10). An overall
inventory management approach that prioritizes Form I-526 petitions where visas are immediately or
soon to be available is different than moving Rallabhandi to the front of the line ahead of all other
petitioners. Rallabhandi’s argument also misconstrues agency action with judicial action.



Defendants’ Motion to Dismiss – Page 16
     Case 3:20-cv-02860-S Document 10 Filed 12/04/20           Page 24 of 30 PageID 61



                                          *   *    *

        As Rallabhandi has failed to demonstrate that USCIS unlawfully withheld,

unreasonably delayed, or otherwise “failed to take a discrete agency action that it [was]

required to take,” Norton, 542 U.S. at 64, Rallabhandi is not entitled to relief on his APA

claim, and it should be dismissed.

B.      Rallabhandi is not entitled to mandamus relief.

        The writ of mandamus is “a drastic and extraordinary remedy reserved for really

extraordinary causes.” Cheney v. U.S. Dist. Court for the Dist. of Columbia, 542 U.S.

367, 380 (2004) (quoting Ex Parte Fahey, 332 U.S. 258, 259-60 (1947)) (internal

quotations omitted). Consistent with this extraordinary remedy, courts will correct only

“transparent violations of a clear duty to act.” In re Aiken Cnty., 645 F.3d 428, 436 (D.C.

Cir. 2011); see also Giddings v. Chandler, 979 F.2d 1104, 1108 (5th Cir. 1992)

(explaining that mandamus relief is only appropriate when the “plaintiff’s claim is clear

and certain and the duty of the officer is ministerial and so plainly prescribed as to be free

from doubt”) (internal quotation marks omitted).

        In order to establish entitlement to mandamus relief, a plaintiff must show that he

has a clear right to the relief sought, that the defendant has a nondiscretionary duty to act,

and there is no other adequate remedy available. Allied Chem. Corp. v. Daiflon, Inc., 449

U.S. 33, 34-35 (1980); Randall D. Wolcott, M.D., P.A. v. Sebelius, 635 F.3d 757, 768

(5th Cir. 2011). The petitioner carries the burden of showing that his right to issuance of

the writ is “clear and indisputable.” Mallard v. U.S. Dist. Ct. for S. Dist. of Iowa, 490

U.S. 296, 309 (1989). Even if all three elements are satisfied, the decision to grant or


Defendants’ Motion to Dismiss – Page 17
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20             Page 25 of 30 PageID 62



deny the writ remains within the Court’s discretion because of the extraordinary nature of

the remedy. Wolcott, 635 F.3d at 768. Here, Rallabhandi has failed to demonstrate any

of the three elements necessary for such relief.

        1.      Rallabhandi has no clear and indisputable right to instant
                adjudication, as USCIS has not violated its duty to timely adjudicate
                Rallabhandi’s petition.

        Rallabhandi has failed to demonstrate either the first or second elements for

mandamus relief, as Rallabhandi cannot show a clear and indisputable right to the relief

sought—near-immediate adjudication—or that Defendants violated their duty to timely

adjudicate Rallabhandi’s petition. Rallabhandi alleges that the Court should issue an

order of mandamus to compel the adjudication of his Form I-526 petitions within 30 days

because Defendants have failed “to adjudicate Plaintiff’s EB-5 petition within a

reasonable amount of time.” (Doc. 1, ¶¶ 46-47, 50.) However, as explained above, there

is no statutory deadline within which EB-5 petitions must be adjudicated. To the extent

Rallabhandi asserts that Congress’s recommended time line for adjudication must be used

to assess the reasonableness of USCIS’s pace, the Fifth Circuit has held otherwise, stating

that 8 U.S.C. § 1571(b) does not create a “clear and certain right” to mandamus relief

when USCIS fails to adjudicate an action within the 180 days specified in the statute.

Bian, 605 F.3d at 255.

        Similarly, USCIS’s pace of adjudication for Rallabhandi’s petition is reasonable,

as the length of time his petition has been pending is shorter than the current estimated

time frames for the adjudication of all Form I-526 petitions. See USCIS, “Check Case

Processing Times,” https://egov.uscis.gov/processing-times/. Further, courts in this


Defendants’ Motion to Dismiss – Page 18
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20               Page 26 of 30 PageID 63



district have held that it is not simply the length of an alleged delay, but rather a variety

of other factors like the complexity of the investigation, the extent of the interests

prejudiced by the alleged delay, and the effect that expediting action on the agency’s

action would have on competing priorities, that determines whether it is unreasonable.

See Al-Juburi, 2007 WL 2285964, at *5-6; Elmalky, 2007 WL 944330, at *6.

Rallabhandi has alleged only minimal facts, at most, to demonstrate that the delay has

been unreasonable, beyond the simple length of time the petition has been pending.

        More fundamentally, the extraordinary relief of a writ of mandamus is not

warranted when granting such relief would simply move the plaintiff to the front of the

line at the expense of others who are waiting. The D.C. Circuit, which is the home circuit

for the headquarters of most federal agencies (including USCIS’s Immigrant Investor

Program Office, which adjudicates all EB-5 petitions and applications) and carries a

heavy docket of administrative law cases, has authored the leading decision in this area.

See In re Barr Labs., Inc., 930 F.2d 72, 75 (D.C. Cir. 1991). In In re Barr, a

pharmaceutical company sought mandamus to require the Food and Drug Administration

to comply with a statutory deadline for the review of applications to sell generic drugs.

Id. Although the agency had missed the deadline, the court nonetheless denied

mandamus relief because putting the petitioner’s application first would merely change

the order of applications but do nothing to solve the overall delay. See id. at 75-76 (“[A]

judicial order putting [the petitioner] at the head of the queue simply moves all others

back one space and produces no net gain.”). Mandamus relief was, therefore,

inappropriate. Id.; see also Casa Colina Hosp. v. Burwell, No. 15-3990, 2015 WL


Defendants’ Motion to Dismiss – Page 19
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20              Page 27 of 30 PageID 64



11237100, at *1 (C.D. Cal. Oct. 30, 2015) (finding mandamus inappropriate in a case in

which the Department of Health and Human Services had failed to adjudicate the

plaintiff’s Medicare appeal within a statutory deadline, because “mandamus would

merely allow [the plaintiff] to jump the queue of other identically situated parties”), aff’d,

698 F. App’x 406 (9th Cir. 2017).

        The same considerations apply in this case where workflows are generally

managed in first-in, first-out order when a visa is available or will be available soon,

particularly as, unlike in Barr, there is no violation of any statutory deadline for agency

action. While Rallabhandi is understandably eager to have his petition adjudicated, there

are no facts alleged which would justify Rallabhandi’s receipt of more favorable

treatment—cutting to the front of the line—at the expense of the other similarly-situated

petitioners whose Form I-526 petitions are also pending. Indeed, as one court has noted,

“[n]ot only would [granting mandamus relief in these circumstances] be arbitrary and

unjust, it would encourage a barrage of mandamus actions by others seeking to also jump

to the front of the line.” Casa Colina, 2015 WL 11237100, at *1.

        As there is no statutory deadline for adjudication of Form I-526 petitions and the

length of time that Rallabhandi’s petition has been pending is reasonable, Rallabhandi

has failed to demonstrate that he has a “clear and indisputable” right to such relief and

has failed to demonstrate that USCIS violated any duty owed to Rallabhandi.

Rallabhandi’s request for mandamus relief should be dismissed on these grounds alone.

        2.      Rallabhandi has other adequate remedies available for relief.

        Rallabhandi’s claim for mandamus relief also must fail because he cannot


Defendants’ Motion to Dismiss – Page 20
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20             Page 28 of 30 PageID 65



demonstrate the third element required for relief, that there are no other adequate

remedies available. See United States v. Denson, 603 F.2d 1143, 1147 n.2 (5th Cir. 1979)

(“It is fundamental that in such cases a court will not issue a writ of mandamus unless no

other remedy is available.”). Rallabhandi has multiple other remedies available,

including to bring suit under the APA. See Ahmadi v. Chertoff, 522 F. Supp. 2d 816, 818

n.3 (N.D. Tex. 2007) (explaining that mandamus relief is unavailable to the plaintiff

because “[g]iven the APA’s authorization of courts to compel agency action

unreasonably delayed, the request for mandamus relief seems largely duplicative”); see

also Mt. Emmons Min. Co. v. Babbitt, 117 F.3d 1167, 1170 (10th Cir. 1997) (“The

availability of a remedy under the APA technically precludes [the plaintiff]’s alternative

request for a writ of mandamus.”); M.J.L., 420 F. Supp. 3d at 598 (explaining mandamus

relief was unavailable to the plaintiffs because they had a remedy under the APA).

        Rallabhandi’s failure to demonstrate either that this Court has subject matter

jurisdiction over the APA claim or to sufficiently plead his APA claim does not mean

that remedy does not exist at all, but just that it is unavailable as Rallabhandi has pleaded

it at this time. See, e.g., Li v. Agagan, No. 04-40705, 2006 WL 637903, at *4 n.5 (5th

Cir. Mar. 14, 2006) (explaining that the appellant had implicitly acknowledged that he

had a remedy under the APA but had failed to plead it, but the existence of that

alternative remedy would foreclose mandamus jurisdiction); Muse v. Nat’l Flood Ins.

Pgm., No. 17-10586, 2019 WL 968371, at *3 (E.D. La. Feb. 28, 2019) (dismissing the

plaintiffs’ mandamus claim as they had another adequate remedy available, explaining

that “Plaintiffs’ failure to pursue their remedies properly under [the separate statutory


Defendants’ Motion to Dismiss – Page 21
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20                Page 29 of 30 PageID 66



scheme] does not mean that these potential remedies do not exist”). The existence of

these alternative remedies is also not affected by Rallabhandi’s assertions that he has only

requested mandamus relief “in the alternative” and only “[t]o the extent the Court finds

that relief under the APA is not available.” (Doc. 1, ¶¶ 46, 49.) The availability of these

alternatives inherently means that Rallabhandi is not entitled to mandamus relief.

                                                *    *   *

        The Supreme Court has stated that mandamus relief is a drastic remedy to be used

only in extraordinary circumstances. See Kerr v. U.S. Dist. Ct. for the N. Dist. of Cal.,

426 U.S. 394, 402 (1976). Rallabhandi has not alleged any such extraordinary

circumstances here to justify mandamus relief. Rallabhandi has no clear right to

immediate adjudication, USCIS has not violated any duty towards Rallabhandi, and

Rallabhandi has other remedies available. Accordingly, Rallabhandi has failed to meet

his burden of demonstrating that he is entitled to the drastic relief of a writ of mandamus.

                                          IV.       Conclusion

        For the foregoing reasons, Defendants respectfully request that this Court grant

their motion to dismiss the Plaintiff’s Original Complaint.




Defendants’ Motion to Dismiss – Page 22
  Case 3:20-cv-02860-S Document 10 Filed 12/04/20              Page 30 of 30 PageID 67




                                                  Respectfully submitted,

                                                  ERIN NEALY COX
                                                  United States Attorney

                                                  /s/ Sarah E. Delaney
                                                  Sarah E. Delaney
                                                  Assistant United States Attorney
                                                  Arizona Bar No. 031722
                                                  1100 Commerce Street, Third Floor
                                                  Dallas, Texas 75242-1699
                                                  Telephone: 214-659-8730
                                                  Facsimile: 214-659-8807
                                                  sarah.delaney@usdoj.gov

                                                  Attorneys for Defendants



                                 CERTIFICATE OF SERVICE

        On December 4, 2020, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                  /s/ Sarah E. Delaney
                                                  Sarah E. Delaney
                                                  Assistant United States Attorney




Defendants’ Motion to Dismiss – Page 23
